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                                                                                                   2017 Jul-17 PM 04:33
                                                                                                  U.S. DISTRICT COURT
                                                                                                      N.D. OF ALABAMA


                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

                                               }
                                               }
IN RE: BLUE CROSS BLUE SHIELD                  }       Master File No.:2:13-CV-20000-RDP
ANTITRUST LITIGATION                           }
(MDL No.: 2406)                                }       This document relates to Subscriber cases.
                                               }
                                               }




   SUBSCRIBER PLAINTIFFS' MOTION FOR PARTIAL SUMMARY JUDGMENT
               ON THE APPLICATION OF THE PER SE RULE

       Subscriber Plaintiffs hereby move, pursuant to Federal Rule of Civil Procedure 56, that

this Court should hold that the restrictions on competition agreed to by the Member Plans are

subject to a rule of per se illegality. In support of this Motion, Subscriber Plaintiffs rely on the

simultaneously filed “Memorandum of Points and Authorities in Support of Subscriber

Plaintiffs’ Motion for Partial Summary Judgment on the Application of the Per Se Rule,”

including the supporting exhibits attached thereto.

Dated: July 17, 2017                               Respectfully submitted,

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                                       CERTIFICATE OF SERVICE

          I hereby certify that on this the 17th day of July, 2017, I electronically filed the foregoing

with the Clerk of Court using the CM/ECF filing system, which will send a copy to all counsel of

record.



                                                         /s/ Chris T. Hellums_______________
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